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 7                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
 8                                 SAN FRANCISCO DIVISION
 9    TRIBUO PARTNERS LLC                                 Case No. 3:22-cv-02930-JSC
10          Plaintiff,                                    PLAINTIFF’S NOTICE OF MOTION
                                                          AND UNOPPOSED MOTION FOR
11    vs.                                                 LEAVE TO FILE SECOND AMENDED
12                                                        COMPLAINT
      WILSON SONSINI GOODRICH &
13    ROSATI, P.C. and JOSEPH MATTHEW                     Jury Trial Demanded
      LYONS,
14
            Defendants.
15
               Plaintiff Tribuo Partners LLC files this Unopposed Motion for Leave to File Second
16
     Amended Complaint and respectfully requests that the Court grant such relief. To attempt
17

18   good-faith, early-stage resolution of this matter, Plaintiff stipulated to dismiss Defendant Joseph

19   Matthew Lyons without prejudice from this action. After discussions ended in impasse, litigation

20   must proceed as originally set out. Accordingly, Plaintiff requests that the Court allow Plaintiff to
21
     file its Second Amended Complaint.
22
                                                  I.
23                                         LEGAL STANDARD
24             When a court has not entered a scheduling order, Rule 15 provides the standard for
25
     requesting leave to amend the pleadings. See Johnson v. Mammoth Recreations, 975 F.2d 604,
26
     607–08 (9th Cir. 1992). “Federal Rule of Civil Procedure 15(a)(2) provides that the district court
27
     should ‘freely give leave when justice so requires.’” Herring Networks, Inc. v. Maddow, 8 F.4th
28
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     1148, 1160 (9th Cir. 2021). “This policy is ‘to be applied with extreme liberality.’” Eminence
 1

 2   Cap., LLC v. Aspeon, Inc., 316 F.3d 1048, 1051 (9th Cir. 2003) (quoting Owens v. Kaiser Found.

 3   Health Plan, Inc., 244 F.3d 708, 712 (9th Cir. 2001)); see Brown v. Stored Value Cards, Inc., 953

 4   F.3d 567, 574–75 (9th Cir. 2020).
 5
              “District courts generally consider four factors in determining whether to [grant] a motion
 6
     to amend: ‘bad faith, undue delay, prejudice to the opposing party, and the futility of amendment.’”
 7
     In re Korean Air Lines Co., 642 F.3d 685, 701 (9th Cir. 2011) (quoting Kaplan v. Rose, 49 F.3d
 8
     1363, 1370 (9th Cir. 1994)). These factors are not of equal importance, however—“[p]rejudice is
 9
10   the ‘touchstone of the inquiry under [R]ule 15(a)’ and ‘carries the greatest weight.’” CNET

11   Networks, Inc. v. Etilize, Inc., 584 F. Supp. 2d 1260, 1267 (N.D. Cal. 2008) (quoting Eminence
12   Cap., 316 F.3d at 1052). “Absent prejudice, or a strong showing of any of the [relevant] factors,
13
     there exists a presumption under Rule 15(a) in favor of granting leave to amend.” Eminence Cap.,
14
     316 F.3d at 1052 (emphasis omitted). The decision of whether to grant leave to amend is within
15
     the district court’s discretion. Leadsinger, Inc. v. BMG Music Publ’g, 512 F.3d 522, 532 (9th Cir.
16

17   2008).

18                                                     II.

19                                 ARGUMENTS AND AUTHORITIES
20            Each relevant analytical factor strongly favors granting leave to amend—accordingly,
21
     Plaintiff respectfully requests that the Court exercise its discretion and grant leave for Plaintiff to
22
     file its Second Amended Complaint.
23
              First and foremost, Defendants will not suffer prejudice if leave to amend is granted.
24

25   Prejudice tends to inure to nonmoving parties the further along a case is. See Navarro v.

26   SmileDirectClub, Inc., No. 22-cv-00095, 2022 U.S. Dist. LEXIS 69940, at *11 (N.D. Cal. Apr.

27   15, 2022). Here, the case is in its infancy—the Court has not entered a scheduling order, discovery
28
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            has yet to commence, and Defendants’ attorneys have yet to even make their appearances.
 1

 2   See Finjan, Inc. v. Check Point Software Techs., No. 18-cv-02621, 2019 U.S. Dist. LEXIS 62473,

 3   at *10 (N.D. Cal. Apr. 2, 2019). There is no risk of prejudicing Defendants, especially considering

 4   the instant motion is unopposed. And even if they were to suffer any prejudice, it would be minimal
 5
     at most, a far cry from the “substantial” level of prejudice necessary to outweigh “Rule 15(a)’s
 6
     liberal policy favoring leave.” Robertson v. Bruckert, 568 F. Supp. 3d 1044, 1047 (N.D. Cal. 2021).
 7
            The other relevant factors also weigh in favor of granting leave. Plaintiff does not seek
 8
     leave to amend in bad faith; necessity to amend here arises out of the parties’ good-faith efforts to
 9
10   resolve this matter at an early stage. As well, Plaintiff did not wait to amend its pleadings in a

11   manner that will cause any delay, let alone unduly so. As soon as discussions among the parties
12   broke down regarding early resolution, Plaintiff promptly moved to amend. See Dominguez v. City
13
     of San Jose, No. 18-cv-04826, 2022 U.S. Dist. LEXIS 140528, at *12 (N.D. Cal. Aug. 8, 2022).
14
     And as stated above, this case is in its infancy, so delay will not result from the Court granting
15
     leave to amend. Moreover, amending the complaint is not futile. Plaintiff makes the allegations in
16

17   its complaint in good faith, and they deserve to be heard on the merits. See Allen v. Mall, No. 12-

18   cv-02368, 2013 U.S. Dist. LEXIS 172890, at *13 (N.D. Cal. Dec. 8, 2013) (“Under Rule 15(a), ‘if

19   the underlying facts or circumstances relied upon by a plaintiff may be a proper subject of relief,
20   he ought to be afforded an opportunity to test his claim on the merits.’” (quoting Foman v. Davis,
21
     371 U.S. 178, 182 (1962))).
22
            Seeing as all relevant factors weigh significantly in favor of granting leave to amend and
23
     that the instant motion is unopposed, Plaintiff respectfully requests that the Court exercise its
24

25   discretion and grant leave for Plaintiff to file its Second Amended Complaint. See FED. R. CIV. P.

26   15(a)(2); see also Eminence Cap., 316 F.3d at 1052.

27

28
       Case 3:22-cv-02930-JSC Document 13 Filed 08/17/22 Page 4 of 4



 1                                                 III.
 2                                           CONCLUSION
 3
            For the foregoing reasons, Plaintiff Tribuo Partners LLC respectfully requests that the
 4
     Court grant leave for Plaintiff to file its Second Amended Complaint.
 5

 6   DATED: August 17, 2022               Respectfully submitted,

 7                                        SBAITI & COMPANY PLLC
 8
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                                              COUNSEL FOR PLAINTIFF
14

15                               CERTIFICATE OF CONFERENCE
16
            I hereby certify that on August 15, 2022, the undersigned counsel consulted with counsel
17   for Defendant, Allison Lane, who represented that Defendant does not oppose the requested relief.

18                                                        /s/ Mazin A. Sbaiti
                                                          Mazin A. Sbaiti
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